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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                            )
 Capital Area Immigrants’ Rights Coalition, )
 et al.,                                    )
                                            )
               Plaintiffs,                  )
                                            )
 v.                                         )          Civil Action No. 1:19-cv-02117-RDM
                                            )
 Donald J. Trump, et al.,                   )
                                            )
               Defendants.                  )
                                            )


               RESPONSE TO PLAINTIFFS’ NOTICE OF RELATED CASE

       Defendants submit this response in opposition to Plaintiffs’ motion to relate this case to

O.A. v. Trump, 1-18-02718 (D.D.C.). The request to relate these cases should be denied. This case

and O.A. involve different claims, different parties, different events, and challenges to completely

different rules. The cases are not related. The Court should reject Plaintiffs’ attempt to misuse the

related-case mechanism.

       Local Rule 40.5(a)(3) provides that “Civil, including miscellaneous, cases are deemed

related when the earliest is still pending on the merits in the District Court and they (i) relate to

common property, or (ii) involve common issues of fact, or (iii) grow out of the same event or

transaction or (iv) involve the validity or infringement of the same patent.” Plaintiffs invoke only

the second of these criteria, asserting the two cases “involve common issues of fact.” See Notice

of Related Case. “The fundamental rationale for the general rule requiring random assignment of

cases is to ensure greater public confidence in the integrity of the judicial process. The rule

guarantees fair and equal distribution of cases to all judges, avoids public perception or appearance
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of favoritism in assignments, and reduces opportunities for judge-shopping.” Tripp v. Executive

Office of the President, 196 F.R.D. 201, 202 (D.D.C.2000) (discussing Rule 40.3). Accordingly,

“[t]he party requesting related-case designation and seeking to avoid random assignment bears the

burden of showing that the cases are related under a provision of Local Civil 40.5.” Judicial Watch,

Inc. v. Rossotti, 2002 WL 31100839, at *1 (D.D.C. Aug. 2, 2002).

       Plaintiffs fail to make this showing here. O.A., as consolidated with S.M.S.R., involves a

challenge by various plaintiffs, including organizations and individual aliens, to an interim final

rule, “Aliens Subject to a Bar on Entry Under Certain Presidential Proclamations; Procedures for

Protection Claims,” 83 Fed. Reg. 55,934 (Nov. 9, 2018), and a Proclamation issued by the

President of the United States. That rule renders ineligible for asylum any alien who illegally

crosses the southern border without presenting for inspection at a port of entry if a Presidential

proclamation forbidding such entry is in effect. See id. Plaintiffs in O.A. allege that this rule: (1)

conflicts with 8 U.S.C. § 1158(a)(1), O.A. Compl. ¶¶ 4, 74-80; (2) conflicts with the expedited

removal statute, 8 U.S.C. § 1225(b)(1), id. ¶¶ 5, 81-91; (3) conflicts with the Trafficking Victims

Protection Reauthorization Act, id. ¶¶ 6, 92-101; (4) is arbitrary and capricious under the

Administrative Procedure Act (APA), id. ¶¶ 102-03; (5) violates the Appointments Clause and 28

U.S.C. § 508, id. ¶¶ 104-12; (6) violates section 1158(b)(2)(C)’s alleged requirement that new

limitations be promulgated by regulation, id. ¶¶ 113-18; (7) was improperly issued without notice

and comment. id. ¶¶ 119-20; and (8) is ultra vires, id. ¶¶ 121-22. The S.M.S.R. Plaintiffs, whose

case was related to and consolidated with O.A., raise similar claims. See S.M.S.R. Compl. ¶¶ 178-

233.

       This case, by contrast, does not challenge that rule and does not concern common issues of

fact with O.A. This case involves a challenge raised by two organizational plaintiffs primarily




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under the APA, to an interim final rule titled “Asylum Eligibility and Procedural Modifications,”

84 Fed. Reg. 33829 (July 16, 2019), issued by the Departments of Justice and Homeland Security,

that provides that “an alien who enters or attempts to enter the United States across the southern

border after failing to apply for protection in a third country outside the alien’s country of

citizenship, nationality, or last lawful habitual residence through which the alien transited en route

to the United States is ineligible for asylum.” Id. at 33830. Plaintiffs in this case allege that this

rule violates the APA because it: (1) conflicts with 8 U.S.C. §§ 1158(a), (a)(2)(A), (b)(2)(A)(vi);

(2) was improperly issued without notice and comment under 5 U.S.C. § 553; (3) conflicts with

the Trafficking Victims Protection Reauthorization Act and 8 U.S.C. § 1158(b)(3)(C); and (4)

violates the Due Process Clause of the Fifth Amendment. See Compl. ¶¶ 153-83.

       This case does not concern issues of fact that are common to O.A. These cases involve

different rules that do different things, that were promulgated to address different factual

circumstances, and that were issued at different times. Key statutory provisions at issue in this

case—sections 1158(a)(2)(A) and 1158(b)(2)(A)(vi)—are not squarely at issue in O.A. Many

claims in the two cases clearly do not overlap, and any commonality in the general nature of the

remaining claims in the cases is largely superficial because the two cases involve two completely

different rules that must be assessed on their own merits. The aliens with a direct interest in the

rule here are also distinct from those affected by the 2018 rule challenged in O.A.: the 2018 rule

applies to those who crossed the border illegally, yet this new rule applies to those who have not

sought relief in a third country. And O.A. does not require review the different administrative

record in this case for the purpose of assessing whether the challenged rule is arbitrary and

capricious. Thus, this case and O.A./S.M.S.R. involve materially different rules, different claims

challenging those rules, and different parties alleged to be affected by those rules.




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        To the extent that Plaintiffs may be suggesting that these cases involve common issues of

fact because both cases involve requests for declaratory and injunctive relief directed at interim

final rules issued without notice and comment and arising in the context of Executive Branch

regulation of the border, Plaintiffs are mistaken. This Court should reject such a boundless

approach to deeming cases “related.” Thousands of cases could be said to involve declaratory and

injunctive relief directed at Executive action impacting the border. Such a theory of relatedness

would create an end-run around the random assignment of cases in this or any other jurisdiction

and render a nullity general rules governing jurisdiction and venue. And the possibility that both

cases involve similar plaintiffs purporting to speak on behalf of migrants arriving by way of

Mexico does not mean the cases involve common questions of fact. Thomas v. National Football

League Players Ass’n, 1992 WL 43121, *1 (D.D.C.1992) (“the court has adopted a strict position

that ... ‘the same parties’ means identical parties, not parties in interest”); Dale v. Exec. Office of

President, 121 F. Supp. 2d 35, 37 (D.D.C. 2000) (cases do not involve common facts “merely

because [they] involve[]” a similar claim). Instead, the rules at issue in these two cases apply to

different populations of aliens and those true parties in interest are not identical. Were it otherwise,

each case involving APA claims raised by migrants at or near the southern border would be related.

If anything, insofar as Plaintiffs believe that these cases involve an understanding of events at the

border, that view would raise questions as to why this case was brought in this District rather than

a District where the alleged events being challenged will take place.

        Plaintiffs would also be wrong to suggest that these cases concern common issues of fact

because many of the defendants and the two plaintiff organizations are in both cases. As to

Defendants, the Departments of Justice or Department Homeland Security or their components are

defendants in nearly every immigration case, and their presence obviously does not warrant




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circumventing the normal, random assignment of cases that applies in this district. To hold

otherwise would require every immigration case to be venued in this District and assigned to this

Court, which is contrary to the letter and purpose of Rule 40.5, to say nothing of general venue

principles. And it is contrary to the settled rule in this District that even where a party alleges to

“have been injured by the same policies of defendant and in the same manner as were the plaintiffs”

in the prior case, that is not enough to find the cases involve common issues of fact. See Dakota

Rural Action v. United States Dep't of Agric., No. CV 18-2852 (BAH), 2019 WL 1440134, at *2

(D.D.C. Apr. 1, 2019). Of course, Plaintiffs in this case do not and cannot allege being “injured by

the same policies … and in the same manner” as the plaintiffs in O.A., so this case plainly is not

related to O.A. See id. As for Plaintiffs, their participation as organizational plaintiffs does not give

rise to standing when those principles are properly applied, and O.A. and S.M.S.R. involved

individuals actually allegedly subject to the challenged policies; this case does not. Even if the

organizations were able to establish standing on an organizational or associational standing theory,

that theory would rely on the actual alleged injuries suffered by individual aliens who are actually

subject to the new rule. But, as noted, these individuals with a direct interest in the rule here are

distinct from those affected by the 2018 rule challenged in O.A.: the 2018 rule applies to those who

crossed the border illegally, yet this recent rule applies to those who have not sought protection in

a third country while en route to the United States. Thus, the true parties in interest in both cases

are different and would be seeking relief on different grounds.

        Plaintiffs might also suggest that the Court has already expended significant resources to

understanding the legal issues and the factual background in O.A. But that does not show that there

will be an unduly burdensome duplication of labor and expense or conflicting results if the cases

are conducted before different judges. Again, as noted, the cases involves different policies and




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are challenged based on different statutory provisions, will entail review of different administrative

records, will involve different issues of standing and justiciability, and will involve factual

allegations that are unique to each case and do not overlap. The fact that both cases involve APA

claims generally or that some aspect of the government is a defendant does not mean litigating the

cases separately will be an unduly burdensome duplication of labor. Indeed, each APA case must

be reviewed on its own administrative record, which will be meaningfully different in this case

even if there is some overlap. Again, the legal issues and factual background of both cases are

different, and suggesting otherwise prejudges the new case on the merits in a manner suggestive

of forum shopping.

       In short, this case and O.A. involve different factual issues, require review of different

administrative records, and necessitate application of different provisions of the Immigration and

Nationality Act. For these reasons, the government respectfully submits that these cases do not

“involve common issues of fact,” and so are not related for purposes of Rule 40.5.

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                                    Respectfully submitted,

                                    JOSEPH H. HUNT
                                    Assistant Attorney General

                                    SCOTT G. STEWART
                                    Deputy Assistant Attorney General

                                    WILLIAM C. PEACHEY
                                    Director

                                 By: /s/ Erez Reuveni
                                    EREZ REUVENI
                                    Assistant Director
                                    Office of Immigration Litigation
                                    U.S. Department of Justice, Civil Division
                                    P.O. Box 868, Ben Franklin Station
                                    Washington, DC 20044
                                    Tel: (202) 307-4293
                                    Email: Erez.R.Reuveni@usdoj.gov

                                    PATRICK GLEN
                                    Senior Litigation Counsel

                                    FRANCESCA GENOVA
                                    Trial Attorneys

Dated: July 17, 2019                Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 17, 2019, I electronically filed the foregoing document with

the Clerk of the Court for the United States Court of for the District of Columbia by using the

CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.



                                By: /s/ Erez Reuveni
                                    EREZ REUVENI
                                    Assistant Director
                                    United States Department of Justice
                                    Civil Division




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